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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 CENTRAL DIST. OF CALIFORNIA

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                           Check if this is an
                                                                        Chapter 13
                                                                                                                           amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                         02/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Michael
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          Scott
     passport).                        Middle Name                                            Middle Name

                                       Patterson
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   3        2       4    6   xxx – xx –
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)




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Debtor 1     Michael Scott Patterson                                                       Case number (if known)

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in       Business name                                                Business name
     the last 8 years
                                  Business name                                                Business name
     Include trade names and
     doing business as names
                                  Business name                                                Business name

                                               –                                                           –
                                  EIN                                                          EIN

                                               –                                                           –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  17740 Bessemer Street
                                  Number       Street                                          Number      Street




                                  Encino                          CA       91316
                                  City                            State    ZIP Code            City                           State    ZIP Code

                                  Los Angeles
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                               Chapter 7

                                         Chapter 11

                                         Chapter 12

                                         Chapter 13



Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Michael Scott Patterson                                                 Case number (if known)

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                       court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                       pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                       behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                       Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                       than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                       fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                       Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                No
     bankruptcy within the
     last 8 years?                     Yes.

                                 District                                                When                    Case number
                                                                                                MM / DD / YYYY
                                 District                                                When                    Case number
                                                                                                MM / DD / YYYY

                                 District                                                When                    Case number
                                                                                                MM / DD / YYYY

10. Are any bankruptcy                 No
    cases pending or being
    filed by a spouse who is           Yes.
    not filing this case with
                                 Debtor                                                              Relationship to you
    you, or by a business
    partner, or by an            District                                                When                    Case number,
    affiliate?                                                                                  MM / DD / YYYY   if known


                                 Debtor                                                              Relationship to you

                                 District                                                When                    Case number,
                                                                                                MM / DD / YYYY   if known

11. Do you rent your                   No.    Go to line 12.
    residence?                         Yes. Has your landlord obtained an eviction judgment against you?

                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                   and file it as part of this bankruptcy petition.




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Michael Scott Patterson                                                   Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                               Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                          Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                               Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




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Debtor 1     Michael Scott Patterson                                                     Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Michael Scott Patterson                                                   Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




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 Fill in this information to identify your case:
 Debtor 1                Michael                       Scott                         Patterson
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $869,300.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $181,532.36
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                         $1,050,832.36
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $138,217.47
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                   $5,784.30
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $144,001.77




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                       $12,461.85
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $8,687.46




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Michael Scott Patterson                                                      Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $17,899.31


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                           $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case and this filing:
 Debtor 1               Michael                  Scott                    Patterson
                        First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                                    Check if this is an
 (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
17740 Bessemer Street, Encino,                           Check all that apply.                               amount of any secured claims on Schedule D:
California 91316                                              Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
Residence                                                     Condominium or cooperative                     entire property?                portion you own?
                                                              Manufactured or mobile home                                $869,300.00                  $869,300.00
                                                              Land
Los Angeles
County                                                        Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                                                                             Fee Title
                                                         Who has an interest in the property?
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

Real property (including community property of nonfiling spouse Sara Wilhelmi): Residence, 17740 Bessemer Street,
Encino, California 91316, 3 bedrooms, 1 bathroom, 1,123 square feet of living space, single family residence, acquired by
quitclaim deed recorded 08/02/2019 from grandmother Molly Liebowitz, who subsequently passed away, worth an
estimated $869,300.00 per a zillow.com search done 04/19/2022, subject to hypothetical commissions and closing costs of
08.0% or $69,544.00, tax liens in favor of the Internal Revenue Service recorded 09/10/2018 with balances estimated at
$40,000.00, a judicial lien originally in favor of West Valleyidence Opco, LLC, dba Providence West Valley against
grandmother Molly Liebowitz and mother Arlene Patterson in the original amount of $39,015.03, but assigned 04/14/2021 to
Bryan S. Eikenberry and Kevin S. Eikenberry and now believed to have a balance of approximately $60,000.00, and a
homestead exemption of $600,000.00, therefore net equity of $99,756.00. Debtor Patterson proposes to pay the liens of
both the Internal Revenue Service and the Eikenberrys in full with interest over the life of the Chapter 13 plan.
2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $869,300.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
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Debtor 1         Michael Scott Patterson                                              Case number (if known)


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                           Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                    Toyota                Check one.                                 amount of any secured claims on Schedule D:
                                                                                          Creditors Who Have Claims Secured by Property.
Model:                   Tacoma DBCB SR5 PKP Debtor
                                             4x4 4 1 only
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:                    2021                                                              entire property?          portion you own?
                                                   Debtor 1 and Debtor 2 only
Approximate mileage: 12,000                        At least one of the debtors and another            $25,745.00               $25,745.00
Other information:
Motor vehicles (including community                Check if this is community property
property of nonfiling spouse Sara                  (see instructions)
Wilhelmi): 2021 Toyota Tacoma
Double Cab SR5 Pickup 4x4 4, 12,000
miles, subject to lease in favor of
Toyota Financial Services requiring
monthly payments of $757.21 per
month for 48 months of which 33
months remain plus buyout at end of
lease, with a scheduled maturity date
of 12/26/2024, $1,552.28 in arrears, no
net equity for the estate.
3.2.                                           Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                    Scion                 Check one.                                 amount of any secured claims on Schedule D:
                                                   Debtor 1 only                          Creditors Who Have Claims Secured by Property.
Model:                   xB
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:                    2012
                                                   Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 100,000                       At least one of the debtors and another             $6,500.00                $6,500.00
Other information:
Motor vehicles (including community                Check if this is community property
property of nonfiling spouse Sara                  (see instructions)
Wilhelmi): 2012 Scion xB, 100,000
miles, worth an estimated $6,500.00
per a kbb.com search done on
04/19/2022, subject to lien in favor of
First Entertainment Credit Union with a
payoff balance of $12,472.47 requiring
monthly payments of $235.00, $0.00 in
arrears, net equity of NEGATIVE
$5,972.47.




Official Form 106A/B                                       Schedule A/B: Property                                                    page 2
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Debtor 1         Michael Scott Patterson                                                             Case number (if known)

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $32,245.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Household goods and furnishings (including community property of nonfiling                                            $2,000.00
                                spouse Sara Wilhelmi): At residence (exempt).

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Electronics (including community property of nonfiling spouse Sara                                                    $1,000.00
                                Wilhelmi): At residence (exempt).

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
                               Collectibles of value (including community property of nonfiling spouse Sara                                            $200.00
                                Wilhelmi): At residence, sports memorabilia (exempt).

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               Equipment for sports and hobbies (including community property of nonfiling                                          $12,100.00
                                spouse Sara Wilhelmi): At residence, fishing gear ($500.00, 15 bicycles
                                ($10,000.00), 8 skateboards ($1,600.00).

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Clothing (including community property of nonfiling spouse Sara Wilhelmi):                                              $500.00
                                At residence, on person (exempt).




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
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Debtor 1          Michael Scott Patterson                                                                                           Case number (if known)

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Jewelry (including community property of nonfiling spouse Sara Wilhelmi):                                                                                                   $500.00
                                         At residence, on person (exempt).

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Non-farm animals (including community property of nonfiling spouse Sara                                                                                                         $0.00
                                         Wilhelmi): At residence, three dogs.

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                 $16,300.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
                                                                                                                                                                                                                   $100.00
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.       Checking account:                      Deposits of money (including community property of nonfiling
                                                                spouse Sara Wilhelmi): First Entertainment Credit Union, 'Value
                                                                Checking,' account 289168-80, in both Debtor Patterson's and
                                                                Sara Wilhelmi's names.                                                                                                                  $3,421.31
             17.2.       Savings account:                       Deposits of money (including community property of nonfiling
                                                                spouse Sara Wilhelmi): First Entertainment Credit Union,
                                                                'First500 Savings,' account 289168-00, in both Debtor
                                                                Patterson's and Sara Wilhelmi's names.                                                                                                  $8,322.25

             17.3.       Savings account:                       Deposits of money (including community property of nonfiling
                                                                spouse Sara Wilhelmi): First Entertainment Credit Union,
                                                                'Secondary Savings,' account 289168-11, in both Debtor
                                                                Patterson's and Sara Wilhelmi's names.                                                                                                  $1,003.51




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 4
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Debtor 1         Michael Scott Patterson                                                            Case number (if known)

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:

                                           Pension plan:            Retirement or pension accounts (including community
                                                                    property of nonfiling spouse Sara Wilhelmi): Motion
                                                                    Picture Health & Welfare Funds Individual Account
                                                                    Plan, $107,140.29 (exempt).                                                   $107,140.29

                                           Retirement account:      Retirement or pension accounts (including community
                                                                    property of nonfiling spouse Sara Wilhelmi): Motion
                                                                    Picture Health & Welfare Funds Defined Benefit Plan.
                                                                    If Debtor Patterson were to retire today at age 50, he
                                                                    would be entitled at age 60 to a monthly benefit of
                                                                    $2,194.01 until death (exempt).                                                     $0.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                       Schedule A/B: Property                                                       page 5
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Debtor 1       Michael Scott Patterson                                                   Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                Current value of the
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured
                                                                                                                              claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information Federal: Tax refunds owed to you (including community                    Federal:            $10,000.00
           about them, including whether property of nonfiling spouse Sara Wilhelmi): Debtor
           you already filed the returns                                                                           State:               $3,000.00
                                                    Patterson anticipates receiving a federal tax refund from
           and the tax years.....................................
                                                    the Internal Revenue Service for the 2021 income tax           Local:                    $0.00
                                            year of $10,000.00, which would otherwise be applied to
                                            back taxes. Amt: $10,000.00

                                            State: Tax refunds owed to you (including community
                                            property of nonfiling spouse Sara Wilhelmi): Debtor
                                            Patterson anticipates receiving a state tax refund from
                                            the California Franchise Tax Board and the Georgia
                                            Department Of Revenue for the 2021 income tax year of
                                            $3,000.00, which would otherwise be applied to back
                                            taxes. Amt: $3,000.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                             Alimony:

                                                                                                      Maintenance:

                                                                                                      Support:

                                                                                                      Divorce settlement:

                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information




Official Form 106A/B                                         Schedule A/B: Property                                                           page 6
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Debtor 1         Michael Scott Patterson                                                                             Case number (if known)

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:

                                                  Interests in insurance policies
                                                  (including community property of
                                                  nonfiling spouse Sara Wilhelmi):
                                                  Health, dental and vision insurance
                                                  with Motion Picture Industry Pension
                                                  & Health Plans, account M10553681,
                                                  'term' only, no value.                                        N/A                                                            $0.00
                                                  Interests in insurance policies
                                                  (including community property of
                                                  nonfiling spouse Sara Wilhelmi):
                                                  Homeowners insurance with
                                                  Mercury Insurance Co., policy CAHP-
                                                  0001078395, 'term' only, no value.                            N/A                                                            $0.00
                                                  Interests in insurance policies
                                                  (including community property of
                                                  nonfiling spouse Sara Wilhelmi):
                                                  Automobile insurance with Mercury
                                                  Insurance Co., policy 0401-06-1401-
                                                  89312, 'term' only, no value.                                 N/A                                                            $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............


35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................   $132,987.36


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.


Official Form 106A/B                                                            Schedule A/B: Property                                                                          page 7
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Debtor 1         Michael Scott Patterson                                                                             Case number (if known)

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............


44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
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Debtor 1          Michael Scott Patterson                                                                            Case number (if known)

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.
             Any other property of any kind not already listed (including community property of nonfiling
             spouse Sara Wilhelmi): Frequent flier miles/points with American Express (9,000),                                                                                  $0.00
             Note: Debtor Patterson and nonfiling estranged spouse Sara Wilhelmi take the position that
             the following assets are the sole and separate property of Sara Wilhelmi:

             a. 2013 Toyota Tacoma Prerunner Pickup 4x2, 200,000 miles, worth an estimated
             $7,000.00, subject to lien with a payoff balance estimated at $2,000.00, acquired post-
             separation;
             b. Transform To Perform Fitness LLC, formed in 2019, post-separation;
             c. Those assets that Ms. Wilhelmi may have acquired post 2018 separation.                                                                                          $0.00

54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 9
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Debtor 1           Michael Scott Patterson                                                                                    Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $869,300.00

56. Part 2: Total vehicles, line 5                                                                                  $32,245.00

57. Part 3: Total personal and household items, line 15                                                             $16,300.00

58. Part 4: Total financial assets, line 36                                                                       $132,987.36

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $181,532.36               property total                 +          $181,532.36



63. Total of all property on Schedule A/B.                                                                                                                                              $1,050,832.36
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                page 10
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 Fill in this information to identify your case:
 Debtor 1            Michael              Scott                  Patterson
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption




3.   Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                                Schedule C: The Property You Claim as Exempt                                              page 1
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 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $869,300.00              $600,000.00         C.C.P. § 704.730
Residence                                                                    100% of fair market
Real property (including community                                           value, up to any
property of nonfiling spouse Sara                                            applicable statutory
Wilhelmi): Residence, 17740 Bessemer                                         limit
Street, Encino, California 91316, 3
bedrooms, 1 bathroom, 1,123 square feet
of living space, single family residence,
acquired by quitclaim deed recorded
08/02/2019 from grandmother Molly
Liebowitz, who subsequently passed
away, worth an estimated $869,300.00 per
a zillow.com search done 04/19/2022,
subject to hypothetical commissions and
closing costs of 08.0% or $69,544.00, tax
liens in favor of the Internal Revenue
Service recorded 09/10/2018 with
balances estimated at $40,000.00, a
judicial lien originally in favor of West
Valleyidence Opco, LLC, dba Providence
West Valley against grandmother Molly
Liebowitz and mother Arlene Patterson in
the original amount of $39,015.03, but
assigned 04/14/2021 to Bryan S.
Eikenberry and Kevin S. Eikenberry and
now believed to have a balance of
approximately $60,000.00, and a
homestead exemption of $600,000.00,
therefore net equity of $99,756.00. Debtor
Patterson proposes to pay the liens of
both the Internal Revenue Service and the
Eikenberrys in full with interest over the
life of the Chapter 13 plan.
Line from Schedule A/B:    1.1

Brief description:                                      $2,000.00                $2,000.00          C.C.P. § 704.020
Household goods and furnishings                                              100% of fair market
(including community property of nonfiling                                   value, up to any
spouse Sara Wilhelmi): At residence                                          applicable statutory
(exempt).                                                                    limit
Line from Schedule A/B: 6

Brief description:                                      $1,000.00                $1,000.00          C.C.P. § 704.020
Electronics (including community property                                    100% of fair market
of nonfiling spouse Sara Wilhelmi): At                                       value, up to any
residence (exempt).                                                          applicable statutory
Line from Schedule A/B:  7                                                   limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Michael Scott Patterson                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $200.00                  $200.00           C.C.P. § 704.040
Collectibles of value (including community                                   100% of fair market
property of nonfiling spouse Sara                                            value, up to any
Wilhelmi): At residence, sports                                              applicable statutory
memorabilia (exempt).                                                        limit
Line from Schedule A/B:   8

Brief description:                                       $500.00                  $500.00           C.C.P. § 704.020
Clothing (including community property of                                    100% of fair market
nonfiling spouse Sara Wilhelmi): At                                          value, up to any
residence, on person (exempt).                                               applicable statutory
Line from Schedule A/B: 11                                                   limit

Brief description:                                       $500.00                  $500.00           C.C.P. § 704.040
Jewelry (including community property of                                     100% of fair market
nonfiling spouse Sara Wilhelmi): At                                          value, up to any
residence, on person (exempt).                                               applicable statutory
Line from Schedule A/B: 12                                                   limit

Brief description:                                        $0.00                     $0.00           C.C.P. § 704.110(d)
Retirement or pension accounts (including                                    100% of fair market
community property of nonfiling spouse                                       value, up to any
Sara Wilhelmi): Motion Picture Health &                                      applicable statutory
Welfare Funds Defined Benefit Plan. If                                       limit
Debtor Patterson were to retire today at
age 50, he would be entitled at age 60 to a
monthly benefit of $2,194.01 until death
(exempt).
Line from Schedule A/B: 21

Brief description:                                     $107,140.29              $107,140.29         C.C.P. § 704.110(d)
Retirement or pension accounts (including                                    100% of fair market
community property of nonfiling spouse                                       value, up to any
Sara Wilhelmi): Motion Picture Health &                                      applicable statutory
Welfare Funds Individual Account Plan,                                       limit
$107,140.29 (exempt).
Line from Schedule A/B: 21




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
          Case 1:22-bk-10457                  Doc 1      Filed 04/19/22 Entered 04/19/22 16:58:04                                 Desc Main
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  Fill in this information to identify your case:
  Debtor 1             Michael                Scott                 Patterson
                       First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name           Last Name


  United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $60,000.00             $869,300.00
Bryan Eikenberry & Kevin Eikenberry Residence
Creditor's name
1470 Maria Lane
Number       Street
Unit 440
                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Walnut Creek             CA      94956               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Judgment Lien
   to a community debt
Date debt was incurred           06/29/2021      Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $60,000.00

Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                       page 1
         Case 1:22-bk-10457                 Doc 1     Filed 04/19/22 Entered 04/19/22 16:58:04                                Desc Main
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Debtor 1      Michael Scott Patterson                                                     Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                            $12,472.47                $6,500.00        $5,972.47
First Entertainment Credit Union              2012 Scion
Creditor's name
POBox 60510
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
City Of Industry        CA      91716-0510        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Auto Lien
   to a community debt
Date debt was incurred          01/2022       Last 4 digits of account number        6     8    6    2

  2.3                                         Describe the property that
                                              secures the claim:                            $40,000.00             $869,300.00
Internal Revenue Service
Creditor's name
                                              Residence
POBox 7346
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Philadelphia            PA      19101-7346        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Federal Income Taxes
   to a community debt
Date debt was incurred          2010-2012     Last 4 digits of account number        3     2    4    6




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $52,472.47

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
         Case 1:22-bk-10457                Doc 1      Filed 04/19/22 Entered 04/19/22 16:58:04                                Desc Main
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Debtor 1      Michael Scott Patterson                                                     Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                            $25,745.00              $25,745.00
Toyota Financial Services                     2021 Toyota Tacoma DBCB
Creditor's name
POBox 4102                                    SR5 PKP 4
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Carol Stream            IL      60197-4102        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Auto Lease
   to a community debt
Date debt was incurred          12/2020       Last 4 digits of account number        K     3    9    3




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $25,745.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $138,217.47

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
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Debtor 1       Michael Scott Patterson                                                 Case number (if known)

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Internal Revenue Service                                               On which line in Part 1 did you enter the creditor?      2.3
        Name
                                                                               Last 4 digits of account number
        Number       Street




        Ogden                                    UT      84201-0039
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 4
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  Fill in this information to identify your case:
  Debtor 1             Michael               Scott                  Patterson
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Michael Scott Patterson                                                          Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $516.65
American Express                                            Last 4 digits of account number         1 0 0 0
Nonpriority Creditor's Name
                                                            When was the debt incurred?           11/2021-03/2022
Box 0001
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Los Angeles                     CA      90096-0001
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                               $8.13
Capital One Bank USA                                        Last 4 digits of account number         9 8 1 9
Nonpriority Creditor's Name
                                                            When was the debt incurred?           09/2019-02/2022
POBox 31293
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Salt Lake City                  UT      84131-1293
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Michael Scott Patterson                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.3                                                                                                                                 $2,600.00
First Entertainment Credit Union                         Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2021
6735 Forest Lawn
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Unit 313                                                     Contingent
                                                             Unliquidated
                                                             Disputed
Hollywood                     CA      90068
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal unsecured loan
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                   $646.35
First Entertainment Credit Union Visa                    Last 4 digits of account number      4 7 8 8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2018-04/2022
POBox 60510
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City Of Industry              CA      91716-0510
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                 $1,064.16
GS Bank USA/Apple Card                                   Last 4 digits of account number      0 0 0 1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2021-04/2022
POBox 7247
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Philadelphia                  PA      19170
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3
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Debtor 1       Michael Scott Patterson                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.6                                                                                                                                   $521.11
Providence Tarzana Regional Medical Cent                 Last 4 digits of account number       3    0    7    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o AMCOL Systems, Inc.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
POBox 21625                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Columbia                      SC      29221-1625
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                   $427.90
Synchrony Bank/Amazon                                    Last 4 digits of account number      5 8 1 4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2019-04/2022
POBox 965013
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896-5013
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
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Debtor 1       Michael Scott Patterson                                                    Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


American Express                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POBox 297871                                                Line    4.1 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Fort Lauderdale                 FL      33329
City                            State   ZIP Code


First Entertainment Credit Union                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
6735 Forest Lawn                                            Line    4.4 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
Unit 313                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Hollywood                       CA      90068
City                            State   ZIP Code


Goldman Sachs Bank USA                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Lockbox 6112                                                Line    4.5 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
POBox 7247                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Philadelphia                    PA      19170-6112
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 5
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Debtor 1       Michael Scott Patterson                                                  Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +          $5,784.30


                   6j.   Total.   Add lines 6f through 6i.                                            6j.              $5,784.30




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                       page 6
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 Fill in this information to identify your case:
 Debtor 1             Michael               Scott                  Patterson
                      First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      Toyota Financial Services                                                    2021 Toyota Tacoma Double Cab SR5 Pickup 4x4
          Name                                                                         Contract to be ASSUMED
          POBox 4102
          Number    Street



          Carol Stream                                 IL        60197-4102
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1              Michael                Scott                       Patterson
                       First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                            Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?               California    Fill in the name and current address of that person.

                Sara Wilhelmi
                Name of your spouse, former spouse, or legal equivalent
                14987 Campus Park Drive
                Number          Street
                Unit A
                Moorpark                                        CA              93021
                City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:

3.1      Sara Wilhelmi
         Name                                                                                          Schedule D, line        2.3
         14987 Campus Park Drive                                                                       Schedule E/F, line
         Number        Street
         Unit A                                                                                        Schedule G, line

         Moorpark                                       CA                93021                  Internal Revenue Service
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
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 Fill in this information to identify your case:
     Debtor 1              Michael              Scott                  Patterson
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   CENTRAL DIST. OF CALIFORNIA
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Lead Man/Art Department
      Include part-time, seasonal,                             Entertainment Partners
      or self-employed work.            Employer's name        Enterprises LLC

      Occupation may include            Employer's address     235 Peachtree Street NE
      student or homemaker, if it                              Number Street                                      Number Street
      applies.
                                                               Unit 217




                                                               Atlanta                      GA      30303
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        10/17/2021

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.              $17,899.31
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.           $17,899.31




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Michael Scott Patterson                                                                                         Case number (if known)
                                                                                                                   For Debtor 1             For Debtor 2 or
                                                                                                                                            non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.            $17,899.31
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                     5a.           $5,288.70
     5b. Mandatory contributions for retirement plans                                                      5b.               $0.00
     5c. Voluntary contributions for retirement plans                                                      5c.               $0.00
     5d. Required repayments of retirement fund loans                                                      5d.               $0.00
     5e. Insurance                                                                                         5e.               $0.00
     5f. Domestic support obligations                                                                      5f.               $0.00
     5g. Union dues                                                                                        5g.               $0.00
     5h. Other deductions.
          Specify: CA SDI                                                                                  5h. +            $148.76
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.            $5,437.46
     5g + 5h.
7.   Calculate total monthly take-home pay.                        Subtract line 6 from line 4.            7.          $12,461.85
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                              8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                            8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                       8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                         8d.                  $0.00
     8e. Social Security                                                                                   8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                          8f.                  $0.00
     8g. Pension or retirement income                                                                      8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                          8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                9.                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.    $12,461.85 +                      =                                             $12,461.85
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                            11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                            12.          $12,461.85
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                  Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                              Schedule I: Your Income                                                                      page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Michael                Scott                  Patterson                           An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    CENTRAL DIST. OF CALIFORNIA                                    MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Son                                 18
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Daughter                            15
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                    $797.75

      4b. Property, homeowner's, or renter's insurance                                                               4b.                     $72.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $140.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Michael Scott Patterson                                                  Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                    $350.00
     6b. Water, sewer, garbage collection                                                           6b.

     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                    $600.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $1,200.00
8.   Childcare and children's education costs                                                       8.                     $175.00
9.   Clothing, laundry, and dry cleaning                                                            9.                     $300.00
10. Personal care products and services                                                             10.                    $100.00
11. Medical and dental expenses                                                                     11.                     $25.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                   $2,000.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                    $200.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.                   $170.00
     15c.   Vehicle insurance                                                                       15c.                   $365.50
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    Toyota Financial-2021 Tacoma                              17a.                   $757.21
     17b.   Car payments for Vehicle 2    First Entertainment-2012 Scion xB                         17b.                   $235.00
     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify: Pet food and care / Work Tools                                          17d.                  $1,200.00
18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                          page 2
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Debtor 1      Michael Scott Patterson                                                          Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.            $8,687.46
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.            $8,687.46

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.           $12,461.85
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –        $8,687.46
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.            $3,774.39

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




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 Fill in this information to identify your case:
 Debtor 1           Michael               Scott                  Patterson
                    First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
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Debtor 1       Michael Scott Patterson                                                  Case number (if known)

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                  Debtor 1                                          Debtor 2

                                                Sources of income            Gross income         Sources of income            Gross income
                                                Describe below.              from each source     Describe below.              from each source
                                                                             (before deductions                                (before deductions
                                                                             and exclusions                                    and exclusions

From January 1 of the current year until        Rental income                          $700.00
the date you filed for bankruptcy:



For last calendar year:                         Tax Refund-2020-F                    $9,918.00
(January 1 to December 31, 2021 )               Tax Refund-2020-CA                   $2,351.00
                                YYYY            Tax Refund-2020-GA                    $475.00
                                                Tax Refund-2020-MI                      $98.00
                                                Rental income                         $500.00
                                                Insurance proceeds                   $4,700.00
                                                Sale of bicycles                     $1,200.00


For the calendar year before that:              Rental income                          $700.00
(January 1 to December 31, 2020 )
                                YYYY




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Debtor 1         Michael Scott Patterson                                                      Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Totota Financial Services                                                        $3,028.84           $25,745.00             Mortgage
Creditor's name                                                                                                             Car
                                                              04/15/2022
POBox 4102                                                                                                                  Credit card
Number     Street                                             03/15/2022
                                                              01/28/2022                                                    Loan repayment
                                                                                                                            Suppliers or vendors
Carol Stream                        IL       60197                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Mercury Insurance Co.                                                            $1,580.90              $0.00               Mortgage
Creditor's name                                                                                                             Car
                                                              03/24/2022
Paid electronically                                                                                                         Credit card
Number     Street                                             02/24/2022
                                                              01/25/2022                                                    Loan repayment
                                                                                                                            Suppliers or vendors
                                                                                                                            Other Insurance
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Los Angeles DWP                                                                  $1,558.72              $0.00               Mortgage
Creditor's name                                                                                                             Car
                                                              04/08/2022
Paid electronically                                                                                                         Credit card
Number     Street                                             02/09/2022
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
                                                                                                                            Other Utility
City                                State    ZIP Code




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Debtor 1        Michael Scott Patterson                                                        Case number (if known)

                                                             Dates of       Total amount          Amount you          Was this payment for...
                                                             payment        paid                  still owe
Sprint                                                                          $2,136.51               $0.00              Mortgage
Creditor's name                                                                                                            Car
                                                             04/18/2022
Paid electronically                                                                                                        Credit card
Number       Street                                          03/14/2022
                                                             02/23/2022                                                    Loan repayment
                                                             01/24/2022                                                    Suppliers or vendors
                                                                                                                           Other Utility
City                               State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                  Nature of the case                          Court or agency                               Status of the case
Sara Wilhelmi v. Michael                    Complaiant To Dissolve Marriage             Ventura County Superior Court
                                                                                                                                                Pending
Patterson                                                                               Court Name
                                                                                        800 South Victoria Aenue                                On appeal
                                                                                        Number     Street
Case number D391058                                                                                                                             Concluded

                                                                                        Ventura                    CA      93006
                                                                                        City                       State   ZIP Code


Case title                                  Nature of the case                          Court or agency                               Status of the case
West Valleyidence Opco, LLC v.              Complaint for money...resulted in           Los Angeles County Superior Court
                                                                                                                                                Pending
Molly Leibovitz, aka Molly Rose             a judgment, and now a lien                  Court Name
Leibovitz, individually and as              against the property which Debtor           6230 Sylmar Avenue                                      On appeal
trustee of the Leibovitz Living             Patterson owns, although he was             Number     Street
Trust Dated 2/1/93; Arlene                  not a party to the lawsuit itself                                                                   Concluded
Patterson aka Arlene D.                                                                 Van Nuys                   CA      91401
Patterson, individually and as                                                          City                       State   ZIP Code
trustee of the Leibovitz Living
Trust Dated 2/1/93
Case number LC106148




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Debtor 1         Michael Scott Patterson                                                    Case number (if known)

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

Describe the property you lost and how                 Describe any insurance coverage for the loss             Date of your     Value of property
the loss occurred                                      Include the amount that insurance has paid. List pending loss             lost
                                                       insurance claims on line 33 of Schedule A/B: Property.
                                                                                                                     11/2021        $4,700.00
Property damage arising from                           Yes, insurance received
automobile accident




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Debtor 1       Michael Scott Patterson                                                      Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment         Amount of
Law Offices Of Hagen & Hagen                         Cash/money/funds                                           or transfer was      payment
Person Who Was Paid                                                                                             made

4559 San Blas Avenue                                                                                               04/18/2022           $1,000.00
Number      Street




Woodland Hills                CA       91364
City                          State    ZIP Code

jeff@hagenhagenlaw.com
Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7
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Debtor 1       Michael Scott Patterson                                                     Case number (if known)

  Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

  Part 9:        Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.

                                                Where is the property?                       Describe the property                   Value

Rick Barajas                                                                                 Pinball machine
Owner's Name

Address Unavailable                             At residence
Number      Street                              Number    Street




City                      State   ZIP Code      City                   State   ZIP Code

                                                Where is the property?                       Describe the property                   Value

Shamira Shirle                                                                               Personal possessions, home
Owner's Name                                                                                 furnishings, clothing
17740 Bessemer Street                           At residence
Number      Street                              Number    Street                             Note: Debtor Patterson's
                                                                                             girlfriend, Ms. Shirle, lives
                                                                                             with Debtor Patterson. Some
                                                                                             of the personal possessions,
Encino                    CA      91316                                                      home furnishings and
City                      State   ZIP Code      City                   State   ZIP Code
                                                                                             clothing at the residence
                                                                                             belong to her.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
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Debtor 1       Michael Scott Patterson                                                         Case number (if known)

 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

           No
           Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                            SAN FERNANDO VALLEY DIVISION
In re Michael Scott Patterson                                                                                                       Case No.

                                                                                                                                    Chapter            13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $5,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $1,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $4,000.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)
                                                                 Debtor Patterson via Chapter 13 Trustee per Chapter 13 plan

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1           Michael                 Scott                 Patterson                  According to the calculations required by this
                    First Name              Middle Name           Last Name                  Statement:

 Debtor 2                                                                                       1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name           Last Name                        under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA                               under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          10/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                     $17,899.31                 $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00                $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                               Debtor 1           Debtor 2
     Gross receipts (before all                       $0.00               $0.00
     deductions)
     Ordinary and necessary operating      –          $0.00   –           $0.00
     expenses                                                                     Copy
     Net monthly income from a business,              $0.00               $0.00 here              $0.00                $0.00
     profession, or farm




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                    page 1
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Debtor 1         Michael Scott Patterson                                                                                             Case number (if known)

                                                                                                                                          Column A      Column B
                                                                                                                                          Debtor 1      Debtor 2 or
                                                                                                                                                        non-filing spouse

6.    Net income from rental and other real property

                                                               Debtor 1                       Debtor 2
      Gross receipts (before all                                            $0.00                          $0.00
      deductions)
      Ordinary and necessary operating                     –                $0.00         –                $0.00
      expenses                                                                                                          Copy
      Net monthly income from rental or                                     $0.00                          $0.00 here                           $0.00            $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                        $0.00            $0.00
8.    Unemployment compensation                                                                                                                 $0.00            $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                     $0.00            $0.00
      was a benefit under the Social Security Act. Also, except as stated in the
      next sentence, do not include any compensation, pension, pay, annuity, or
      allowance paid by the United States Government in connection with a
      disability, combat-related injury or disability, or death of a member of the
      uniformed services. If you received any retired pay paid under chapter 61
      of title 10, then include that pay only to extent that it does not exceed the
      amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act;
    payments received as a victim of a war crime, a crime against humanity, or
    international or domestic terrorism; or compensation, pension, pay, annuity,
    or allowance paid by the United States Government in connection with a
    disability, combat-related injury or disability, or death of a member of the
    uniformed services. If necessary, list other sources on a separate page
    and put the total below.




      Total amounts from separate pages, if any.                                                                                   +                    +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                               $17,899.31    +        $0.00   =    $17,899.31
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                            Total average
                                                                                                                                                                            monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                       $17,899.31
12. Copy your total average monthly income from line 11. ..............................................................................................................................................




Official Form 122C-1                       Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                   page 2
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Debtor 1        Michael Scott Patterson                                                                                                Case number (if known)

13. Calculate the marital adjustment. Check one:
           You are not married. Fill in 0 below.
           You are married and your spouse is filing with you. Fill in 0 below.
           You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
           of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
           than you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
           necessary, list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.




                                                                                                                     +
           Total......................................................................................................................      $0.00           Copy here                                –                 $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                  $17,899.31

15. Calculate your current monthly income for the year. Follow these steps:

    15a.     Copy line 14 here                                                                                                                                                                               $17,899.31
                                                  ...................................................................................................................................................................................

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                    X         12

    15b.                                                                                                                                                         $214,791.72
             The result is your current monthly income for the year for this part of the form. .......................................................................................

16. Calculate the median family income that applies to you. Follow these steps:

    16a.     Fill in the state in which you live.                                                          California

    16b.     Fill in the number of people in your household.                                                       3

    16c.                                                                                                                                                              $97,092.00
             Fill in the median family income for your state and size of household......................................................................................................................
             To find a list of applicable median income amounts, go online using the link specified in the separate
             instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.             Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                     under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.             Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                     11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                     On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:          Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                                     $17,899.31
                                                                                                  ..............................................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.                                                                                                                                                              –                $0.00
             If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................................................

    19b.     Subtract line 19a from line 18.                                                                                                                                                                  $17,899.31




Official Form 122C-1                      Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                       page 3
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 Fill in this information to identify your case:
 Debtor 1               Michael                       Scott                         Patterson
                        First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                       Middle Name                   Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
 (if known)
                                                                                                                                   Check if this is an amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                                   04/22
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and
Calculation of Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5
and 6 of Form 122C-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 122C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

 5.   The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                               3
      be different from the number of people in your household.


 National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.

 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                         $1,473.00
      fill in the dollar amount for food, clothing, and other items.
 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are
      under 65 and people who are 65 or older--because older people have a higher IRS allowance for health care costs. If
      your actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                      $68.00
      7b. Number of people who are under 65                                         X                  3
                                                                                                              Copy
      7c. Subtotal. Multiply line 7a by line 7b.                                            $204.00           here                           $204.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                    $142.00
      7e. Number of people who are 65 or older                                      X
                                                                                                              Copy
      7f.   Subtotal. Multiply line 7d by line 7e.                                              $0.00         here                +              $0.00
                                                                                                                                                                   Copy
                                                                                                                                              $204.00              here
      7g. Total. Add lines 7c and 7f................................................................................................................................            $204.00


Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                             page 1
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Debtor 1     Michael Scott Patterson                                                         Case number (if known)

 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using
 the link specified in the separate instructions for this form. This chart may also be available at the
 bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                $650.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed            $2,279.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Next divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment

            Internal Revenue Service                                   $666.67



                                                              +
                                                                                                                   Repeat this
                                                                                    Copy                           amount on
            9b. Total average monthly payment                          $666.67      here           –       $666.67 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                      Copy
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                   $1,612.33    here        $1,612.33
            rent expense). If this number is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                   $626.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




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Debtor 1      Michael Scott Patterson                                                                        Case number (if known)

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1         Describe Vehicle 1:          2021 Toyota Tacoma DBCB SR5 PKP 4



                                                                                                                           $533.00
      13a. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13b. Average monthly payment for all debts secured by Vehicle 1.

            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all
            amounts that are contractually due to each secured creditor in the 60 months
            after you file for bankruptcy. Then divide by 60.


              Name of each creditor for Vehicle 1                            Average monthly
                                                                             payment


            Toyota Financial Services                                              $429.08

                                                                         +
                                                                                                                                      Repeat this
                                                                                                   Copy                               amount on
                                Total average monthly payment                      $429.08         here                  –    $429.08 line 33b.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                                  expense
           Subtract line 13b from line 13a. If this number is less than $0, enter $0. ........................                $103.92 here            $103.92

      Vehicle 2         Describe Vehicle 2:




                                                                                                                           $533.00
      13d. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

              Name of each creditor for Vehicle 2                            Average monthly
                                                                             payment




                                                                                                                                        Repeat this
                                                                                                   Copy                                 amount on
                                Total average monthly payment                         $0.00        here                  –        $0.00 line 33c.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                                  expense
           Subtract line 13e from 13d. If this number is less than $0, enter $0.                   ........................   $533.00 here            $533.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                             $0.00
     Transportation expense allowance regardless of whether you use public transportation.




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Debtor 1       Michael Scott Patterson                                                   Case number (if known)

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                                         $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.

 Other Necessary Expenses           In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                    following IRS categories.

 16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-                                $5,437.46
     employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.
     Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                                       $0.00
     union dues, and uniform costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                                          $0.00
     filing together, include payments that you make for your spouse's term life insurance.
     Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any
     form of life insurance other than term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                                          $0.00
     agency, such as spousal or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                                                      $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.
 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                        $0.00
     Do not include payments for any elementary or secondary school education.
 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                                             $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services                            +                $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.
     Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
     expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                                            $10,639.71

 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.
 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.

      Health insurance                                          $170.00
      Disability insurance                                        $0.00
      Health savings account                           +          $0.00

      Total                                                     $170.00 Copy total here                                                                        $170.00
                                                                                                 ...........................................................................

      Do you actually spend this total amount?
              No. How much do you actually spend?
              Yes
 26. Continued contributions to the care of household or family members. The actual monthly expenses that you                                                     $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

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Debtor 1    Michael Scott Patterson                                                     Case number (if known)

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                    $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
     By law, the court must keep the nature of these expenses confidential.

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                          $0.00
     $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial    +      $0.00
     instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
      Do not include any amount more than 15% of your gross monthly income.
 32. Add all of the additional expense deductions.                                                                                 $170.00
     Add lines 25 though 31.




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 Deductions for Debt Payment

 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                       Average monthly
                                                                                                                                       payment
              Mortgages on your home
      33a.                                                                                                                                       $666.67
              Copy line 9b here............................................................................................................................................................................................
              Loans on your first two vehicles
      33b.                                                                                                                                      $429.08
              Copy line 13b here............................................................................................................................................................................................
      33c.                                                                                                                                          $0.00
              Copy line 13e here............................................................................................................................................................................................
      33d.    List other secured debts:
      Name of each creditor for                                    Identify property that                       Does payment
      other secured debt                                           secures the debt                             include taxes or
                                                                                                                insurance?

      Bryan Eikenberry & Kevin Eikenberry
                                       Residence                                                                               No                $1,000.00
                                                                                                                               Yes

      First Entertainment Credit Union                             2012 Scion                                                  No                   $207.87
                                                                                                                               Yes
                                                                                                                               No
                                                                                                                                        +
                                                                                                                               Yes
                                                                                                                                                                        Copy total
      33e.                                                                                                       $2,303.62
              Total average monthly payment. Add lines 33a through 33d...............................................................                                   here                        $2,303.62

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

             No. Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                  possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                         Identify property that                             Total cure                                 Monthly cure
                                              secures the debt                                   amount                                     amount

 Internal Revenue Service                     Residence                                             $40,000.00             ÷ 60 =                   $666.67

                                                                                                                           ÷ 60 =

                                                                                                                           ÷ 60 =       +
                                                                                                                                                                        Copy total
                                                                                                                             Total                  $666.67             here                           $666.67

 35. Do you owe any priority claims--such as a priority tax, child support, or
     alimony--that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
             No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include
                  current or ongoing priority claims, such as those you listed in line 19.

                     Total amount of all past-due priority claims...................................................................................... ÷ 60 =                                             $0.00




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Debtor 1          Michael Scott Patterson                                                                                       Case number (if known)

 36. Projected monthly Chapter 13 plan payment                                                                                                     $2,444.91
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or
        by the Executive Office for United States Trustees (for all other districts).

                                                                                                                                               X            9.2 %
        To find a list of district multipliers that includes your district, go online using the link
        specified in the separate instructions for this form. This list may also be available
        at the bankruptcy clerk's office.

                                                                                                                                                                       Copy total
        Average monthly administrative expense                                                                                                      $224.93            here           $224.93

 37. Add all of the deductions for debt payment.
     Add lines 33e through 36.                                                                                                                                                       $3,195.22

 Total Deductions from Income

 38. Add all of the allowed deductions.
                                                                                                            $10,639.71
        Copy line 24, All of the expenses allowed under IRS expense allowances...........................................................

        Copy line 32, All of the additional expense deductions............................................................... $170.00

        Copy line 37, All of the deductions for debt payment.....................................................                       +          $3,195.22
                                                                                                                                                                       Copy total
        Total deductions                                                                                                                       $14,004.93              here         $14,004.93



 Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)
 39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
                                                                                                                                            $17,899.31
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ................................................................

 40. Fill in any reasonably necessary income you receive for support for dependent children.
     The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part 1 of Form 122C-1, that
     you received in accordance with applicable nonbankruptcy law to the extent
     reasonably necessary to be expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that
     your employer withheld from wages as contributions for qualified retirement
     plans, as specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans                                                                 $0.00
     from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A).
                                                                                                                                             $14,004.93
     Copy line 38 here.......................................................................................................................................................

 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special
     circumstances and their expenses. You must give your case trustee a detailed
     explanation of the special circumstances and documentation for the expenses.

          Describe the special circumstances                                               Amount of expense




                                                                                            +
                                                                                                                         Copy
                                                                                 Total                      $0.00 here                  +               $0.00




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                         Capital One Bank USA
                         POBox 31293
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                         First Entertainment Credit Union
                         POBox 60510
                         City Of Industry, CA 91716-0510



                         First Entertainment Credit Union
                         6735 Forest Lawn
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                         First Entertainment Credit Union Visa
                         POBox 60510
                         City Of Industry, CA 91716-0510



                         Goldman Sachs Bank USA
                         Lockbox 6112
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                         GS Bank USA/Apple Card
                         POBox 7247
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                         POBox 7346
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